                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


ASSOCIATION OF VILLAGE COUNCIL
PRESIDENTS, et al.,

             Plaintiffs,

             and                              Case No. 3:23-cv-00074-SLG
CITY OF BETHEL,
                                              FEDERAL DEFENDANTS’ CROSS-
                                              MOTION FOR SUMMARY
              Intervenor-Plaintiff,
                                              JUDGMENT

      v.

NATIONAL MARINE FISHERIES
SERVICE, et al.,

             Defendants,

             and

AT-SEA PROCESSORS ASSOCIATION,
et al.,

             Intervenor-Defendants.


      Federal Defendants – National Marine Fisheries Service (“NMFS”), United States

Department of Commerce, Gina M. Raimondo, in her official capacity as Secretary of

Commerce, and Samuel D. Rauch, III, in his official capacity as Deputy Assistant

Administrator for Regulatory Programs – respectfully cross-move under Federal Rule of

Civil Procedure 56 for summary judgment on all claims in Plaintiffs’ and Intervenor-

Plaintiff’s Complaints and Supplemental Complaints. See ECF Nos. 1, 29, 52, and 54.




      Case 3:23-cv-00074-SLG          Document 68   Filed 07/19/24   Page 1 of 54
      Federal Defendants are entitled to summary judgment because NMFS complied

with the requirements of the National Environmental Policy Act (NEPA) in adopting the

2023-2024 and 2024-2025 harvest specifications for the groundfish fisheries of the

Bering Sea and Aleutian Islands. This cross-motion is supported by the previously filed

Administrative Records (ECF Nos. 19, 30, 35, 62, and 63), the accompanying Federal

Defendants' Brief in Support of Cross-Motion for Summary Judgment and Response in

Opposition to Plaintiffs' Motion for Summary Judgment, and upon such oral and/or

documentary evidence as may be presented in any hearing on this motion.




Dated: July 19, 2024                     Respectfully submitted,

                                         TODD KIM
                                         Assistant Attorney General
                                         Environment and Natural Resources Division
                                         United States Department of Justice

                                         JENNIFER A. SUNDOOK
                                         Trial Attorney
                                         Natural Resources Section
                                         Ben Franklin Station, P.O. Box 7611
                                         Washington, D.C. 20044-7611
                                         Phone: (202) 341-2791
                                         Fax: (202) 305-0506
                                         Jennifer.Sundook@usdoj.gov

                                         Attorneys for Federal Defendants




      Case 3:23-cv-00074-SLG       Document 68      Filed 07/19/24    Page 2 of 54
TODD KIM
Assistant Attorney General
Environment and Natural Resources Division
United States Department of Justice

JENNIFER A. SUNDOOK
Trial Attorney
Natural Resources Section
Ben Franklin Station, P.O. Box 7611
Washington, D.C. 20044-7611
Phone: (202) 341-2791
Fax: (202) 305-0506
Jennifer.Sundook@usdoj.gov


Attorneys for Federal Defendants

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 ASSOCIATION OF VILLAGE                 )
 COUNCIL                                )
 PRESIDENTS, et al.,                    )
                                        )
              Plaintiffs,               )
                                        )    Case No. 3:23-cv-00074-SLG
              and                       )
                                        )    FEDERAL DEFENDANTS’ BRIEF IN
 CITY OF BETHEL,                        )    SUPPORT OF CROSS-MOTION FOR
                                        )    SUMMARY JUDGMENT AND
              Intervenor-Plaintiff,     )    RESPONSE IN OPPOSITION TO
                                        )    PLAINTIFFS’ MOTION FOR
                                        )    SUMMARY JUDGMENT
       v.                               )
                                        )
 NATIONAL MARINE FISHERIES              )
 SERVICE, et al.,                       )
                                        )
              Defendants,               )
                                        )
              and                       )
                                        )

Fed. Defs.’ Opening Brief
AVCP v. NMFS, No. 3:23-cv-00074-SLG
      Case 3:23-cv-00074-SLG Document 68        Filed 07/19/24   Page 3 of 54
AT-SEA PROCESSORS                   )
ASSOCIATION, et al.,                )
                                    )
           Intervenor-Defendants.   )




Fed. Defs.’ Opening Brief
AVCP v. NMFS, No. 3:23-cv-00074-SLG
      Case 3:23-cv-00074-SLG Document 68   Filed 07/19/24   Page 4 of 54
                                          TABLE OF CONTENTS

I.     INTRODUCTION .................................................................................................... 1

II.    BACKGROUND ...................................................................................................... 2

       A.       The Magnuson-Stevens Act .......................................................................... 3

       B.       The Fishery Management Plan and Measures to Reduce Salmon
                Bycatch .......................................................................................................... 4

       C.       The Harvest Specifications ............................................................................ 7

                1.        The Harvest Specifications EIS ......................................................... 8

                2.        The Harvest Specifications Process ................................................. 11

                3.        Comments on the BSAI Groundfish Specifications ........................ 15

                4.        The Supplemental Information Reports ........................................... 16

III.   STANDARD OF REVIEW.................................................................................... 20

IV.    ARGUMENT ......................................................................................................... 21

       A.       Plaintiffs fail to satisfy the causation and redressability elements of
                standing. ...................................................................................................... 21

       B.       Any argument relating to the lack of an EIS specific to the annual
                harvest specifications decision is waived. ................................................... 25

       C.       NEPA does not require a new EIS each year for the annual harvest
                specifications decision. ................................................................................ 28

       D.       The Service reasonably determined that the harvest specifications
                decisions did not require supplemental NEPA analysis. ............................. 30

                1.        Legal Standard.................................................................................. 30

                2.        NMFS appropriately used the SIRs to consider whether new
                          information is significant and would require a supplemental
                          EIS. ................................................................................................... 32

                3.        NMFS did not use the harvest specification process as a
                          substitute for analyzing whether significant information
                          required supplemental NEPA analysis. ............................................ 34


Fed. Defs.’ Opening Brief                                                                                                          i
       Case 3:23-cv-00074-SLG                    Document 68               Filed 07/19/24             Page 5 of 54
               4.        NMFS's conclusion that changes in the BSAI ecosystems do
                         not present significant new circumstances or information is
                         reasonable and well-supported. ........................................................ 36

V.    CONCLUSION ...................................................................................................... 41




Fed. Defs.’ Opening Brief                                                                                               ii
     Case 3:23-cv-00074-SLG                   Document 68            Filed 07/19/24           Page 6 of 54
                                          TABLE OF AUTHORITIES

Cases
Anderson v. Evans,
  371 F.3d 475 (9th Cir. 2004) ......................................................................................... 39
Ass’n of Pub. Agency Customers, Inc. v. Bonneville Power Admin.,
  126 F.3d 1158 (9th Cir. 1997) ....................................................................................... 39
Barnes v. U.S. Dep't of Transp.,
  655 F.3d 1124 (9th Cir. 2011) ....................................................................................... 27
Blue Mountains Biodiversity Project v. Blackwood,
  161 F.3d 1208 (9th Cir. 1998) ....................................................................................... 36
Cantrell v. City of Long Beach,
  241 F.3d 674 (9th Cir. 2001) ......................................................................................... 21
Citizens to Pres. Overton Park, Inc. v. Volpe,
  401 U.S. 402 (1971) ....................................................................................................... 20
City of Sausalito v. O'Neill,
  386 F.3d 1186 (9th Cir. 2004) ....................................................................................... 31
Conservation Law Found. of New England, Inc. v. Franklin,
  989 F.2d 54 (1st Cir. 1993) .............................................................................................. 4
Dep’t of Transp. v. Pub. Citizen,
  541 U.S. 752 (2004) ....................................................................................................... 25
Flaherty v. Bryson,
  850 F. Supp. 2d 38 (D.D.C. 2012) ............................................................................. 4, 23
Friends of Endangered Species, Inc. v. Jantzen,
  760 F.2d 976 (9th Cir. 1985) ......................................................................................... 39
Friends of the Clearwater v. Dombeck,
  222 F.3d 552 (9th. Cir. 2000) ........................................................................................ 33
Greenpeace Action v. Franklin,
  14 F.3d 1324 (9th Cir. 1992) ......................................................................................... 39
Havasupai Tribe v. Robertson,
 943 F.2d 32 (9th Cir. 1991) ........................................................................................... 25
Idaho Sporting Congress, Inc. v. Alexander,
  222 F.3d 562 (9th Cir. 2000) ......................................................................................... 33
'Ilio'ulaokalani Coal. v. Rumsfeld,


Fed. Defs.’ Opening Brief                                                                                                   iii
         Case 3:23-cv-00074-SLG                   Document 68             Filed 07/19/24            Page 7 of 54
   464 F.3d 1083 (9th Cir. 2006) ....................................................................................... 27
Johnson v. Dir., Off. of Workers' Comp. Programs,
  183 F.3d 1169 (9th Cir. 1999) ....................................................................................... 25
Klamath-Siskiyou Wildlands Ctr. v. Bureau of Land Mgmt.,
  387 F.3d 989 (9th Cir. 2004) ......................................................................................... 39
Kleppe v. Sierra Club,
  427 U.S. 390 (1976) ....................................................................................................... 40
Laguna Greenbelt, Inc. v. U.S. Dep't of Transp.,
  42 F.3d 517 (9th Cir. 1994) ........................................................................................... 31
Loper Bright Enterprises v. Raimondo,
  144 S. Ct. 2244 (2024) ................................................................................................... 21
Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) ....................................................................................................... 21
Marsh v. Or. Nat. Res. Council,
 490 U.S. 360 (1989) ................................................................................. 1, 30, 31, 38, 40
Mayo v. Reynolds,
 875 F.3d 11 (D.C. Cir. 2017) ......................................................................................... 28
Metro. Edison Co. v. People Against Nuclear Energy,
 460 U.S. 766 (1983) ....................................................................................................... 24
Mt. Graham Red Squirrel v. Espy,
 986 F.2d 1568 (9th Cir. 1993) ....................................................................................... 21
N. Alaska Env't Ctr. v. U.S. Dep't of the Interior,
  983 F.3d 1077 (9th Cir. 2020) ............................................................... 27, 28, 29, 30, 40
N.C. Fisheries Ass'n v. Gutierrez,
  518 F. Supp. 2d 62 (D.D.C. 2007) ................................................................................. 39
Native Ecosystems Council v. Tidwell,
  599 F.3d 926 (9th Cir. 2010) ......................................................................................... 37
Native Vill. of Kivalina v. ExxonMobil Corp.,
  696 F.3d 849 (9th Cir. 2012) ......................................................................................... 22
Nw. Env't Advocs. v. Nat'l Marine Fisheries Serv.,
 460 F.3d 1125 (9th Cir. 2006) ....................................................................................... 39
Price Rd. Neighborhood Ass'n v. U.S. Dep't of Transp.,
  113 F.3d 1505 (9th Cir. 1997) ....................................................................................... 31
Protect Our Cmtys. Found. v. LaCounte,


Fed. Defs.’ Opening Brief                                                                                                    iv
         Case 3:23-cv-00074-SLG                   Document 68              Filed 07/19/24           Page 8 of 54
   939 F.3d 1029 (9th Cir. 2019) ....................................................................................... 31
San Luis & Delta-Mendota Water Auth. v. Jewell,
  747 F.3d 581 (9th Cir. 2014) ......................................................................................... 20
Sierra Club v. U.S. Army Corps of Eng’rs,
  701 F.2d 1011 (2d Cir. 1983) ........................................................................................ 40
Tri-Valley CAREs v. U.S. Dep't of Energy,
  671 F.3d 1113 (9th Cir. 2012) ....................................................................................... 36
Turtle Island Restoration Network v. U.S. Dep't of Com.,
  Com., 438 F.3d 937 (9th Cir. 2006) ............................................................................... 25
United Cook Inlet Drift Ass’n v. NMFS,
 No.21-cv-0025, 2022 WL 2222879 (D. Alaska June 21, 2022) ...................................... 4
Universal Health Servs., Inc. v. Thompson,
 363 F.3d 1013 (9th Cir. 2004) ....................................................................................... 28
Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc.,
  435 U.S. 519 (1978) ....................................................................................................... 25
W. Coal Traffic League v. ICC,
 735 F.2d 1408 (D.C. Cir. 1984) ..................................................................................... 30
Warm Springs Dam Task Force v. Gribble,
 621 F.2d 1017 (9th Cir. 1980) ................................................................................. 32, 33
Wash. Env’t Council v. Bellon,
 732 F.3d 1131 (9th Cir. 2013) ................................................................................. 22, 23
Whitewater Draw Nat. Res. Conservation Dist. v. Mayorkas,
 5 F.4th 997 (9th Cir.) ..................................................................................................... 21
Wisconsin v. Weinberger,
 745 F.2d 412 (7th Cir. 1984) ......................................................................................... 36
Statutes
5 U.S.C. § 706(2) ............................................................................................................... 20
16 U.S.C. § 1851(a)(1) .............................................................................................. 7, 8, 11
16 U.S.C. § 1851(a)(2) ................................................................................................ 12, 34
16 U.S.C. § 1852(a) ............................................................................................................. 3
16 U.S.C. § 1852(a)(1)(G) ................................................................................................... 4
16 U.S.C. § 1852(g)(1)(B) ........................................................................................... 11, 12



Fed. Defs.’ Opening Brief                                                                                                         v
         Case 3:23-cv-00074-SLG                     Document 68              Filed 07/19/24            Page 9 of 54
16 U.S.C. § 1855(f) ........................................................................................................... 25
16 U.S.C. §§ 1801–1891d ................................................................................................... 3
28 U.S.C. § 2401(a) ........................................................................................................... 29
Regulations
40 C.F.R. § 1502.9(d)(1) ................................................................................. 27, 29, 30, 35
40 C.F.R. pts. 1500–08 ...................................................................................................... 40
46 Fed. Reg. 18 .................................................................................................................. 40
50 C.F.R. § 600.310(f)(3) .................................................................................................. 11
50 C.F.R. § 600.315 ........................................................................................................... 12
50 C.F.R. § 600.315(d) ...................................................................................................... 12
50 C.F.R. § 670.20(a)(2)................................................................................................ 8, 11
50 C.F.R. § 679.20(a)(2).................................................................................................... 12
50 C.F.R. § 679.20(c) .................................................................................................. 15, 19
50 C.F.R. § 679.21(e)(1)...................................................................................................... 6
50 C.F.R. § 679.21(f) ..................................................................................................... 6, 24
50 C.F.R. § 679.20 ............................................................................................................. 14
50 C.F.R. pt. 600................................................................................................................ 11
74 Fed. Reg. 3178 .............................................................................................................. 11




Fed. Defs.’ Opening Brief                                                                                                         vi
        Case 3:23-cv-00074-SLG                     Document 68              Filed 07/19/24             Page 10 of 54
                            TABLE OF ACRONYMS

ABC                Acceptable biological catch
AP                 Advisory Panel
APA                Administrative Procedure Act
AVCP               Association of Village Council Presidents
BSAI               Bering Sea and Aleutian Islands
EA                 Environmental Assessment
EBS                Eastern Bering Sea
EEZ                Exclusive economic zone
EFH                Essential fish habitat
EIS                Environmental Impact Statement
ESA                Endangered Species Act
ESP                Ecosystem and Socioeconomic Profile
ESR                Ecosystem status report
FEIS               Final Environmental Impact Statement
FMP                Fishery Management Plan
FMU                Fishery management unit
GOA                Gulf of Alaska
MSA                Magnuson-Stevens Fishery Conservation and Management Act
NEPA               National Environmental Policy Act
NMFS               National Marine Fisheries Service
NOAA               National Oceanic and Atmospheric Administration
NS                 National Standards
OFL                Overfishing level
OY                 Optimum Yield
PSC                Prohibited species catch
PSEIS              Programmatic Supplemental Environmental Impact Statement
SAFE               Stock Assessment and Fishery Evaluation
SEIS               Supplemental Environmental Impact Statement
SIR                Supplementary Information Report
SSC                Scientific and statistical committee
TAC                Total allowable catch
TCC                Tanana Chiefs Conference




Fed. Defs.’ Opening Brief                                                     vii
     Case 3:23-cv-00074-SLG   Document 68    Filed 07/19/24   Page 11 of 54
                                   I.     INTRODUCTION

         The question of when the impact of climate change on an ecosystem is significant

enough to require supplemental process under the National Environmental Policy Act

(NEPA) “is a classic example of a factual dispute the resolution of which implicates

substantial agency expertise.” Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 376 (1989).

         The foundation of Plaintiffs’ 1 challenge to the annual harvest specifications

decision is that changes to the Bering Sea and Aleutian Islands (BSAI) ecosystems

required new or supplemental process under NEPA. However, National Marine Fisheries

Service (“NMFS” or the “Service”) agency experts have concluded these changes are not

significant in the context of the impact of the harvest strategies on the environment. This

decision was supported by a tremendous amount of science. In the annual Supplemental

Information Reports (SIR), NMFS considered the need for supplemental NEPA

documentation by reviewing the most recent and best scientific information available

concerning the past, present, and possible future conditions of fish stocks, fish habitat,

marine ecosystems, physical oceanography, climate data, biological data, and socio-

ecological dimensions. NMFS rationally concluded, based on the best science available

and most up-to-date data on climate change, that no supplemental NEPA process was

required to implement the annual BSAI groundfish harvest specifications.

         This decision was reasonable and well-supported. NMFS implements the annual

groundfish harvest specifications based on one of the harvest strategies analyzed in the



1
    For brevity, this brief uses the term “Plaintiffs” to also include Amici Curiae.

Fed. Defs.’ Opening Brief                                                                    1
        Case 3:23-cv-00074-SLG          Document 68     Filed 07/19/24    Page 12 of 54
Harvest Specifications EIS. When the Harvest Specifications EIS was finalized, climate

change was a present phenomenon. This EIS analyzed the potential environmental

impacts of alternative harvest strategies and considered the effects of warming oceans,

rising surface air temperatures, and decreases in sea ice on the BSAI ecosystems.

Plaintiffs attempt to overwhelm the Court with a litany of changes in the BSAI

ecosystems, generally divorced from the context of the annual harvest specifications

decision. But NMFS agency experts reviewed comprehensive, current data on the BSAI

ecosystems and concluded that the changes Plaintiffs describe do not represent a

significant change relative to the environmental impacts of the harvest strategies analyzed

in the Harvest Specifications EIS. This Court should defer to this scientific determination

supported by agency expertise.

                                 II.      BACKGROUND

       Each year, the harvest specifications decision is the result of a robust process that

assesses the most current scientific data to specify the catch limits that govern the

commercial harvest of groundfish in the BSAI. In addition to complying with NEPA, the

process must conform to the standards of the Magnuson-Stevens Fishery Conservation

and Management Act (MSA), which governs the development of fishery management

plans (FMP). NMFS implements the annual BSAI groundfish harvest specifications in

conformance with the BSAI FMP’s preferred harvest strategy analyzed in the Harvest

Specifications EIS. Consequently, the harvest specifications decision and its effect on

salmon and other marine resources in the BSAI is best understood within the context of

these many interrelated authorities and processes.


Fed. Defs.’ Opening Brief                                                                      2
      Case 3:23-cv-00074-SLG           Document 68    Filed 07/19/24    Page 13 of 54
A.     The Magnuson-Stevens Act

       The MSA, 16 U.S.C. §§ 1801–1891d, establishes a national program for

conservation and management of fishery resources with federal jurisdiction over such

resources within the U.S. exclusive economic zone (EEZ). Id. §§ 1801(a)(6), 1811(a).

NMFS, acting under authority delegated from the Secretary of Commerce, is responsible

for managing fisheries pursuant to the MSA.

       Regulation of fisheries is accomplished through FMPs, plan amendments, and

implementing regulations. Id. §§ 1852(h)(1), 1853, 1854(a)–(c). The MSA sets forth

required provisions for FMPs, including that FMPs must contain measures “necessary

and appropriate for the conservation and management of the fishery, to prevent

overfishing and rebuild overfished stocks, and to protect, restore, and promote the long-

term health and stability of the fishery.” Id. § 1853(a)(1)(A). To address and prevent

overfishing, FMPs must establish mechanisms for annual catch limits and accountability

measures. Id. § 1853(a)(15).

       In addition, all FMPs and their implementing regulations must be consistent with

ten National Standards (NS). Id. § 1851(a). NS1 requires that “[c]onservation and

management measures shall prevent overfishing while achieving, on a continuing basis,

the optimum yield from each fishery for the United States fishing industry.” Id. §

1851(a)(1). NS2 requires that measures be based on the “best scientific information

available.” Id. § 1851(a)(2).

       To assist in fishery management, the MSA established eight regional fishery

management councils. 16 U.S.C. § 1852(a). Councils are “simply advisory bodies and


Fed. Defs.’ Opening Brief                                                                   3
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24    Page 14 of 54
have no legal authority.” United Cook Inlet Drift Ass’n v. NMFS, No. 21-cv-0025, 2022

WL 2222879, at *19 (D. Alaska June 21, 2022). Ultimately, NMFS is responsible for

implementing and ensuring compliance with the MSA and other laws. Conservation Law

Found. of New England, Inc. v. Franklin, 989 F.2d 54, 57 (1st Cir. 1993); Flaherty v.

Bryson, 850 F. Supp. 2d 38, 54 (D.D.C. 2012). The council here is the North Pacific

Fishery Management Council (the Council), with jurisdiction over the fisheries in federal

waters of the Arctic Ocean, Bering Sea, and Pacific Ocean, extending from the seaward

boundary of Alaska to the outer boundary of the EEZ. 16 U.S.C. § 1852(a)(1)(G); id.

§ 1802(11).

       Voting members of the councils include federal, state, and territorial fishery

management officials, and individuals nominated by state governors and appointed by the

Secretary who are knowledgeable regarding the conservation and management of fishery

resources within the councils’ geographic areas. Id. § 1852(b). Each council has a

scientific and statistical committee (SSC) that provides ongoing scientific advice for

fishery management decisions, as well as a fishing industry advisory committee and other

advisory panels to assist the council in carrying out its functions under the Act. Id. §

1852(g). Councils, SSCs, fishing industry advisory committees, and advisory panels

conduct their business in public meetings, pursuant to procedures prescribed by the MSA

and written procedures established by each council. Id. § 1852 (f)(6), (h), (i).

B.     The Fishery Management Plan and Measures to Reduce Salmon Bycatch

       The BSAI FMP and implementing regulations govern the groundfish fisheries of

the BSAI. The BSAI groundfish fishery is widely considered to be among the best


Fed. Defs.’ Opening Brief                                                                  4
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 15 of 54
managed fisheries in the world. 2SUPP06169; NMFS05829. This fishery produces high

levels of catch, revenue, exports, employment, and other economic activity while

maintaining ecological sustainability. 2SUPP06169; NMFS05829.

       The Council’s management approach for the BSAI groundfish fisheries is “to

apply judicious and responsible fisheries management practices, based on sound

scientific research and analysis, proactively rather than reactively, to ensure the

sustainability of fishery resources and associated ecosystems for the benefit of future, as

well as current generations.” NMFS00108. The BSAI FMP sets forth management

objectives, including: adopting conservative harvest levels, promoting conservation while

providing for optimum yield, adjusting acceptable biological catch levels to account for

uncertainty and ecosystem factors, incorporating ecosystem-based considerations into

decisions, reducing bycatch, avoiding impacts to seabirds and marine mammals, and

increasing Alaska Native participation in fishery management. NMFS00108-00111.

Under the FMP and implementing regulations, the optimum yield range for groundfish in

the BSAI is 1.4 to 2.0 million metric tons. NMFS00118-119; 50 C.F.R. §

679.20(a)(1)(i)(A). The BSAI FMP also sets out the annual harvest specifications process

the Council and NMFS follow, consistent with the preferred harvest strategy analyzed in

the Harvest Specifications EIS. NMFS00119-00123.

       There have been several amendments to the FMP to address and reduce salmon

bycatch. In 2009, NMFS implemented Amendment 91, the Chinook salmon bycatch

management program, to minimize, to the extent practicable, Chinook salmon bycatch in

the Bering Sea pollock fishery. Then, in 2016, NMFS implemented Amendment 110 to


Fed. Defs.’ Opening Brief                                                                     5
      Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24     Page 16 of 54
improve the management of Chinook and chum salmon bycatch. Under current

regulations implementing Amendments 91 and 110, the Bering Sea pollock fishery is

subject to a bycatch limit, also known as a prohibited species catch (PSC) limit, that is

based on past bycatch performance, participation in NMFS-approved Chinook salmon

bycatch incentive plan agreements, and whether NMFS determines it is a low Chinook

salmon abundance year, which is based on the State of Alaska’s three-system index. 50

C.F.R. § 679.21(f); 2SUPP00043-00045; 2SUPP05192; NMFS00038-39. Other than

these threshold determinations, the regulations do not give NMFS discretion to set a

different bycatch limit. 2 NMFS updates and announces the bycatch limit and

performance standard for the Bering Sea pollock fishery in the annual harvest

specifications. NMFS00032-33; 2SUPP00035-00036.

       These amendments to the FMP have been effective in reducing salmon bycatch.

NMFS00614. The 2022 data showed the lowest number of Chinook salmon bycatch in

the BSAI groundfish fisheries since 2000. 2SUPP01450-01451. The 2023 data showed

the lowest number of chum salmon bycatch in the BSAI groundfish fisheries since 2012.

2SUPP01447-01448. NMFS experts have further concluded that the number of salmon

caught as bycatch in the BSAI groundfish fisheries that would have returned to western

Alaska would be relatively small. NMFS00040; 2SUPP00048-00049. The majority of



2
  The same applies for bycatch limits for crab and herring. Regulations specify that
NMFS use the most recent information available on abundance to determine the annual
bycatch limit. See 50 C.F.R. § 679.21(e)(1). The regulations do not give NMFS discretion
to set a bycatch limit for crab and herring different from the limits prescribed in
regulation.

Fed. Defs.’ Opening Brief                                                                   6
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 17 of 54
chum bycatch is of Asian hatchery origin, and thus would not have returned to Alaska

rivers. NMFS00039. NMFS experts have also found that the numbers of salmon caught

as bycatch in the ocean that would have returned to western Alaska rivers would be slight

due to ocean mortality and the large proportion of salmon in the Bering Sea from other

river systems. 2SUPP00048-00049; NMFS00040. Due to these factors, NMFS experts

concluded that the bycatch expected to have returned to western Alaska rivers is less than

2-3 percent of the run size for Chinook salmon. NMFS00040; 2SUPP00048-00049.

       NMFS and the Council continue to examine ways to minimize salmon bycatch and

recently initiated an action to modify chum salmon bycatch management measures, with

ongoing work to develop and evaluate potential alternatives to further reduce chum

bycatch. NMFS00613; 2SUPP00044; 2SUPP00105. Any action recommended by the

Council and implemented by NMFS to regulate chum bycatch will be analyzed under

NEPA, but is separate from the harvest specifications process. 2SUPP00105.

C.     The Harvest Specifications

       In the BSAI, harvests of groundfish are managed by NMFS subject to annual

limits for each target species. These annual limits are “harvest specifications” and the

process of establishing them is the “harvest specifications process.” 2SUPP00072. NMFS

designed the process be flexible and responsive to the best, most current scientific

information available to inform the harvest specifications for the upcoming fishing years

in compliance with applicable law. Under the MSA, the harvest specifications must

achieve optimum yield on a continuing basis and prevent overfishing. 16 U.S.C. §

1851(a)(1). Additionally, the harvest specifications implement FMP objectives including


Fed. Defs.’ Opening Brief                                                                   7
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24    Page 18 of 54
adopting conservative harvest levels, promoting conservation while providing for

optimum yield, and incorporating ecosystem-based considerations into decisions. See

NMFS00108-00111.

       1.     The Harvest Specifications EIS

       NMFS implements the harvest specifications annually in reliance on the Harvest

Specifications EIS, which examines the effects of five alternative harvest strategies.

NMFS00644; NMFS00045; NMFS01254; 2SUPP00051-00052; 2SUPP00067. In

addition to a no-action alternative that would have set total allowable catch (TAC) at

zero, the EIS evaluates the impacts of four action alternatives. NMFS00644. These

alternatives are high-level management strategies ranging from a more aggressive

strategy of specifying the maximum permissible TACs (Alternative 1) to a less

aggressive strategy of specifying TACs to sum 1.4 million metric tons, the lower

boundary of the optimum yield range set by the FMP and implementing regulations.

(Alternative 4). Id.; 50 C.F.R. § 679.20(a)(1)(i)(A). Importantly, although the harvest

specifications process determines the annual TAC for each target species, the sum of

which must fall within the optimum yield range (1.4 to 2.0 million metric tons), changes

to the optimum yield range are outside the harvest specifications process. NMFS00040;

2SUPP00048; NMFS00123; 50 C.F.R. § 670.20(a)(2).

       The Harvest Specifications EIS thoroughly evaluates the consequences of each

harvest strategy on the ecosystem and its components. Specifically, the EIS considers

impacts on marine resources in the BSAI including target species, non-specified species,

forage fish species, prohibited species (including salmon, Pacific halibut, and crab),


Fed. Defs.’ Opening Brief                                                                  8
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24    Page 19 of 54
marine mammals, seabirds, essential fish habitat, and the ecosystem, as well as social and

economic impacts and environmental justice impacts. See NMFS00644-00649 (summary

of impacts).

       In analyzing the affected environment, the Harvest Specifications EIS recognizes

that the action area for the harvest strategy is subject to periodic climatic and ecological

“regime shifts” that impact ecosystem relationships. NMFS00737-00745. The EIS

considers warming trends in the BSAI and makes predictions for future regime shifts.

NMFS00738-00740. The EIS further considers the impacts of the loss of sea ice and

ocean acidification on abundance, distribution, recruitment, and prey for target species,

salmon, crab stocks, and ice-dependent seals. NMFS00740-00741.

       The EIS examines “systemic ecosystem impacts” on three categories of ecosystem

attributes: predator-prey relationships, energy flow and balance, and diversity.

NMFS00885-00886. Specifically, the EIS considers the availability of prey species

relative to predator demands, the spatial and temporal impacts of the fisheries on foraging

for marine mammals and seabirds, removal of top predators, introduction of non-native

species, energy redirection and removal, and species functional and genetic diversity.

NMFS00883-00903 (Ecosystem Chapter).

       Against this background analyzing the affected environment, NMFS disclosed and

assessed the impacts of alternative harvest strategies on target species and non-specified

species (like jellyfish and grenadiers), forage fish, and prohibited species. NMFS00750-

00757; NMFS00764-00779; NMFS00788-00791; NMFS00798-00801; NMFS00815-

00821. For crab and salmon, the EIS analyzes impacts of the alternative harvest strategies


Fed. Defs.’ Opening Brief                                                                      9
      Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24     Page 20 of 54
on mortality, genetic structure of the populations, reproductive success, prey availability,

and habitat. NMFS00815-00821. Based on the then-current conditions for salmon and

crab, the EIS noted recent “collapsed salmon runs” and a decline in the biomass of all

crab stocks in the Bering Sea. NMFS00740; NMFS00971.

       For marine mammals, the EIS discloses and assesses the potential impacts of the

harvest strategies on incidental take of marine mammals, impacts to their prey species,

and disturbance from vessel traffic, nets, and underwater sound that could modify marine

mammal behavior. NMFS00828-00849. The EIS contemplates that incidental take would

continue to occur and that harvests of marine mammal prey species may limit foraging

success through localized depletion and dispersion of prey, making it more energetically

costly for foraging marine mammals to obtain necessary prey. NMFS00842.

       The Harvest Specifications EIS includes a similar assessment for seabirds,

examining impacts on prey availability and habitat. NMFS00857-00867. The EIS

contemplates that fishing under the alternative harvest strategies would reduce or disperse

the biomass of prey species available to seabird populations or otherwise displace or

interfere with normal seabird foraging. NMFS00858.

       In its chapter on environmental justice, the Harvest Specifications EIS considers

the potential effects of salmon bycatch on subsistence salmon fisheries in Alaska.

NMFS00971. The EIS recognizes and considers collapsed salmon runs that had occurred

at that time, specifically in the Yukon and Kuskokwim areas, when considering the

impact of alternative harvest strategies on salmon bycatch. Id.; NMFS00805-00822.




Fed. Defs.’ Opening Brief                                                                  10
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 21 of 54
       2.     The Harvest Specifications Process

       Under the preferred harvest strategy, NMFS sets TACs for each target species

within the acceptable biological catch (ABC) amounts recommended through the harvest

specifications process. NMFS01094. TACs—which are the annual catch target for each

target species—are set equal to or lower than the ABCs—which are set equal to or lower

than the overfishing levels (OFL). 3 NMFS00117; NMFS00119-00123. Put simply: TAC

≤ ABC ≤ OFL. NMFS00040; 2SUPP00048. In addition, the sum of all TACs must fall

within the optimum yield range of 1.4 to 2.0 million metric tons. NMFS00040;

2SUPP00049; NMFS00123; 50 C.F.R. § 670.20(a)(2).

       The harvest specifications process is designed to prevent overfishing of each target

species while achieving optimum yield in the BSAI groundfish fishery on a continuing

basis, consistent with the MSA and the FMP’s objectives. 16 U.S.C. § 1851(a)(1). The

annual harvest specifications process also sets the criteria necessary for NMFS to

determine if a stock is overfished or subject to overfishing. Id. §§ 1853(a)(10), 1854(e);

NMFS00127-1128.

       The harvest specifications process involves numerous stages of review by the Plan




3
 OFL is the amount of annual catch determined by abundance that if exceeded would
result in overfishing; the ABC is reduced from OFL and is the amount of annual catch
that accounts for scientific uncertainty in the estimate of OFL, while TAC is reduced
from ABC and accounts for management uncertainty and social and economic factors.
See NMFS00117; NMFS00119-00123; 2SUPP05281; 50 C.F.R. § 679.20(a)(3)(ii)
(listing socioeconomic considerations that inform TACs); 2SUPP00048; 50 C.F.R. §
600.310(f)(3), (f)(4); MSA Provisions, 74 Fed. Reg. 3178, 3180 (Jan. 16, 2009) (codified
at 50 C.F.R. pt. 600) (Figure 2).

Fed. Defs.’ Opening Brief                                                                11
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24    Page 22 of 54
Team, SSC, Advisory Panel (AP), and the Council. 4 The Plan Team and SSC review and

recommend the OFLs and ABCs, and the Council’s AP then reviews and recommends

TACs, which informs the Council’s recommendations to NMFS. NMFS00120;

NMFS01266; 2SUPP00020-00021. NMFS implements the Council-recommended TACs

if consistent with the MSA and other applicable law and publishes the harvest

specifications in the Federal Register. 2SUPP00072; 50 C.F.R. § 679.20(a)(2), (c).

       The harvest strategy establishes an annual process that incorporates the best

scientific information available consistent with requirements of the MSA and

implementing regulations. 16 U.S.C. § 1851(a)(2); 50 C.F.R. § 600.315. For the

groundfish harvest specifications, the best scientific information available is compiled

annually in the Stock Assessment and Fishery Evaluation report (SAFE).

       [The SAFE is] a public document or a set of related public documents, that
       provides [NMFS] and the Councils with a summary of scientific information
       concerning the most recent biological condition of stocks, stock complexes,
       and marine ecosystems . . . . Each SAFE report summarizes, on a periodic
       basis, the best scientific information available concerning the past, present,
       and possible future condition of the stocks, EFH [essential fish habitat],
       marine ecosystems, and fisheries being managed under Federal regulation.

50 C.F.R. § 600.315(d); see e.g., 2SUPP5276-2SUPP06693 (2023 SAFE).

       The SAFE includes the stock assessments for each stock, the Economic Status

Report, stock-specific Ecosystem and Socioeconomic Profiles, and the Ecosystem Status

Reports for the Bering Sea and Aleutian Islands. Most stock assessments are drafted by


4
 Members of the SSC include federal and state employees, academics, and independent
experts with strong scientific or technical credentials and experience. 16 U.S.C. §
1852(g)(1)(B). The AP is made up of individuals representing commercial, recreational,
and other interests who are knowledgeable about the fisheries. Id. § 1852(g)(4).

Fed. Defs.’ Opening Brief                                                                  12
     Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24    Page 23 of 54
scientists at the Alaska Fisheries Science Center, a component of the National Oceanic

and Atmospheric Administration (NOAA) charged with the scientific research that

informs management decisions, and the assessments are updated to reflect the most

recent information. NMFS00591.

      The Ecosystem Status Reports for the BSAI, which are drafted by scientists and

staff from NOAA, other federal and state agencies, academic institutions, tribes, and

nonprofits, compile and summarize information about the status of Alaska marine

ecosystems and represent the best scientific information available. See NMFS00043;

NMFS00606; 2SUPP00045; 2SUPP00096-00098; NMFS05430-05656 (Eastern Bering

Sea (EBS) 2022); NMFS05661-05799 (Aleutian Islands (AI) 2022); 2SUPP06354-06594

(EBS 2023); 2SUPP06598-06690 (AI Islands 2023). The Ecosystem Status Reports are

updated annually and include physical oceanography, climate and biological data,

ecosystem trends, and socio-ecological dimensions to provide context for the

specification of OFL, ABC, and TAC. NMFS00043; 2SUPP00045; 2SUPP00096-00098;

2SUPP00106. Ongoing research incorporated into the Ecosystem Status Reports has

increased NMFS’s understanding of the interactions among ecosystem components,

including impacts from changing environmental conditions related to climate change.

NMFS00043.

      Each year, the Plan Team, and then the SSC, review the Ecosystem Status Reports

and the stock assessments that comprise the SAFE. The Plan Team, SSC, Council, and

NMFS apply the preferred harvest strategy in the BSAI FMP and analyzed in the Harvest

Specifications EIS based on the most up-to-date science. The updated SAFEs result in a


Fed. Defs.’ Opening Brief                                                                13
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24    Page 24 of 54
new OFL and ABC for the stocks—which limits the specification of TAC, as TAC

cannot exceed ABC and ABC cannot exceed OFL. See NMFS00591; NMFS01266;

2SUPP00078; 2SUPP05278. NMFS implements the OFLs, ABCs, and TACs through

rulemaking. NMFS00018-19; NMFS00045; 2SUPP00021; 2SUPP00051-00052;

2SUPP00045-00047. 5 NMFS confirms each year’s groundfish harvest specifications are

consistent with the BSAI FMP’s preferred harvest strategy analyzed in the Harvest

Specifications EIS, do not constitute a change from that strategy, and are within the scope

analyzed in the EIS. NMFS00588; NMFS01254; 2SUPP00074; 2SUPP00067.

       Based on the most current scientific data, the Council recommended a pollock

TAC of 1.3 million metric tons for 2023. NMFS00020-21. While this was a reduction

from a 2023 ABC of 1.91 million, it was an increase from the 2022 TAC of 1.111 million

and reflected an increase in recruitment and spawning biomass estimates from the

previous year. NMFS27303-27306; NMFS00040. For 2024, the Council recommended

the same TAC from 2023 of 1.3 million metric tons, a significant reduction from a 2024

ABC of 2.313 million metric tons. 6 2SUPP00023; 2SUPP37600-37604.




5
  Plaintiffs assert NMFS has discretion to divide catch limits among seasons and sectors
and decide what types of boats can fish. Pls.’ Principal Brief Under Local Rule
16.3(c)(1) (“Pls.’ Br.”) 20–21, ECF No. 32. Allocations among different gears and
sectors, and season dates and allowances, are prescribed in regulations that were
implemented in rulemakings separate from the harvest specifications process. See 50
C.F.R. §§ 679.20, 679.23.
6
  The TACs for all species sum to 2 million metric tons, which is within the required
optimum yield range for the BSAI. NMFS00021; 2SUPP00023. Actual harvest in recent
years has been less than the amount authorized. 2SUPP06184.

Fed. Defs.’ Opening Brief                                                               14
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24    Page 25 of 54
      3.     Comments on the BSAI Groundfish Specifications

      In addition to reviewing the information presented in the SAFEs, Council bodies

and the Council invite public comment at every stage of the Council process, and NMFS

publishes the specifications for public comment and considers tribal consultation. 50

C.F.R. § 679.20(c). In responding to comments received regarding the final harvest

specifications for both 2023-2024 and 2024-2025, NMFS acknowledged “the western

Alaska salmon crisis and the impact it is having on culture and food security throughout

western Alaska” and explained that “[s]cience indicates climate change as the primary

driver of poor salmon returns in western Alaska.” NMFS00039; 2SUPP00044; see

2SUPP00048-00049. NMFS further responded by recognizing “the significant

importance of salmon for Alaska Native people and tribes in terms of food security,

cultural practices, and a way of life.” NMFS00039; see also 2SUPP00043. NMFS

explained that the pollock TACs are higher to reflect an observed increase in pollock

abundance, but noted that the TACs were still specified well below the ABCs, which is

the upper limit for specification of TACs. NMFS00040; 2SUPP00048. In terms of

salmon bycatch, NMFS explained that the best science available does not indicate that a

reduction in pollock TAC would measurably increase salmon escapement to western

Alaska. NMFS00040.

      More comments alleged that the harvest specifications “use an outdated EIS”

which “does not consider climate change.” NMFS00040; NMFS00042; 2SUPP00045.

NMFS responded to these comments by stating that the Harvest Specifications EIS

examined physical and oceanographic conditions in the BSAI and addressed regime


Fed. Defs.’ Opening Brief                                                               15
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24   Page 26 of 54
shifts, warming and loss of sea ice, and acidification. NMFS00043; 2SUPP00047.

NMFS noted that the framework process for the preferred harvest strategy under the

BSAI FMP and Harvest Specifications EIS allows for the effects of climate change to be

considered in the annual process for setting the harvest specifications. NMFS00043;

2SUPP00047-00048; see also 2SUPP00045.

      NMFS further responded by pointing out that it has not changed the harvest

strategy or specifications process from what was analyzed in the Harvest Specifications

EIS. NMFS00041; 2SUPP00046. The Harvest Specifications EIS evaluates the

consequences of alternative harvest strategies on ecosystem components and on the

ecosystem as a whole. Each year, the harvest strategy uses the best scientific information

available in the annual SAFEs to derive the annual harvest specifications. NMFS00041;

2SUPP00046. Furthermore, each year, NMFS considers new information and

circumstances with the purpose of evaluating the need to supplement the EIS and

documents that evaluation in a Supplemental Information Report (SIR). NMFS00040-

43; 2SUPP00044-00047. To date, no SIR has concluded there is new, significant

information or circumstances that requires a supplement to the EIS. 2SUPP00046.

      4.     The Supplemental Information Reports

      Separate from the annual harvest specifications process, NMFS considers new

information and circumstances to evaluate the need to supplement the EIS. NMFS

documents this evaluation in a SIR, which NMFS has prepared every year for the

agency’s annual implementation of the groundfish harvest specifications. NMFS00040-

43; 2SUPP00044-00047. The conclusions in the SIR are informed by the best available,


Fed. Defs.’ Opening Brief                                                              16
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24    Page 27 of 54
most recent information, primarily contained in the most recent SAFEs, which (1)

summarize the best available scientific information concerning the past, present, and

possible future condition of the stocks, marine ecosystems, and fisheries that are managed

under Federal law; (2) document significant trends or changes in the resource, marine

ecosystems, and the fisheries over time; and (3) assess the relative success of existing

State of Alaska and Federal fishery management programs. NMFS00591; 2SUPP00078.

       In the SIRs, NMFS examines new information on species abundance and

condition, environmental and ecosystem factors, and socio-economic conditions to

determine if the information presents a seriously different picture of the impacts

considered by the Harvest Specifications EIS. See NMFS00592; 2SUPP00081. NMFS

also reviews whether any new circumstances would change the analysis in the Harvest

Specifications EIS of the impacts of the harvest strategy on the human environment.

       Each year, NMFS’s review in the SIRs is informed by a plethora of environmental

and ecosystem data presented in stock-specific risk tables, stock assessments, and

Ecosystem Status Reports that comprise the SAFEs. For example, the 2023 EBS pollock

risk table “assessed several environmental and ecosystem considerations that warranted

an elevated level of concern, including environmental/oceanographic factors related to

climate change, status in fish condition over year classes, declining trends in northern fur

seal pup production on St. Paul Island, and mixed trends in the status of potential

competitors like jellyfish and salmon.” 2SUPP00045; 2SUPP05838-05846;

2SUPP05970-05975. The risk tables for 2022 EBS pollock, as well as other species like

EBS Pacific cod and BSAI yellowfin sole, included a similar discussion of


Fed. Defs.’ Opening Brief                                                                  17
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 28 of 54
“environmental/ecosystem” considerations. See NMFS02524-02527; see also

NMFS02407-02410 (2022 AI pollock); 2SUPP05697-06702 (2023 EBS Pacific cod);

NMFS02116-02120 (2022 EBS Pacific cod); 2SUPP06067-06068 (2023 BSAI yellowfin

sole); NMFS03067-03068 (2022 BSAI yellowfin sole).

       The Ecosystem Status Reports (ESRs) provide comprehensive information on

current oceanographic conditions, such as sea-ice extent and thickness, sea surface and

bottom temperatures, cold pool extent, surface winds and air temperatures, warm periods

and marine heatwaves, and ocean transport, as well as emerging stressors like ocean

acidification and harmful algal blooms. 2SUPP06384-06425; 2SUPP06538-06548 (2023

EBS); 2SUPP06628-06649; 2SUPP06662-06664 (2023 AI). The ESRs examine the

condition of the ecosystems across a multitude of relevant components that include

primary biological production, e.g., phytoplankton and zooplankton, 2SUPP06429-

06460; biomass of species like jellyfish, forage fish, and herring, 2SUPP06461-06473;

groundfish condition as indicators of prey availability and habitat condition within the

systems, 2SUPP06490-06498; patterns in foraging and energetics of key target species,

2SUPP06499-06505; and groundfish recruitment predictions. 2SUPP06512-06518.

       As reviewed in the SIRs, the ESRs also assess the status of prohibited species like

salmon. The 2023 ESRs addressed Northern Bering Sea juvenile salmon abundance, EBS

juvenile salmon condition and trends, abundance of the annual inshore run size of Bristol

Bay sockeye salmon, factors affecting the Yukon and Kuskokwim chum salmon runs and

subsistence harvests, and trends in commercial salmon catch in the Bering Sea, as well as

increasing abundance and changing role of Eastern Kamchatka pink salmon in the AI


Fed. Defs.’ Opening Brief                                                                  18
     Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24    Page 29 of 54
ecosystem. 2SUPP06474-064892; 2SUPP06650-06652. In addition to the ESRs, the SIR

examined salmon bycatch numbers and trends and the ecosystem considerations

presented in the EBS pollock stock assessment. 2SUPP00103-00107.

       For crab, the SIR looked at impacts analyzed in the EIS on crab and crab bycatch

and the most recent information on crab and crab bycatch. 2SUPP00109-00112. The ESR

noted that trends are variable but the biomass of several species decreased or remained

depressed. 2SUPP06522-06524. The SIR noted no crab bycatch limits in the BSAI were

exceeded in 2023. 2SUPP00109-00112. The SIR also provided an overview of actions to

address management of Bristol Bay red king crab and EBS snow crab, including the

overfished declaration for ESB snow crab and development of a rebuilding plan. Id.

       For seabirds, the SIR looked at the impacts analyzed in the EIS and information

from the ESRs, which examined information regarding time of breeding; breeding and

reproductive success; distribution, diet, and mortality; and connections between seabirds,

physical environmental conditions, climate change, biological indicators, availability of

prey in the ecosystem, and foraging conditions. 2SUPP06525-06531 (2023 EBS ESR);

2SUPP06653-06661 (2023 AI ESR).

       For marine mammals, the SIR assessed their current status relative to the impacts

analyzed in the EIS. 2SUPP00113-00117; 2SUPP00120-00136. For example, the SIR

noted humpback whale take does occur incidental to the BSAI groundfish fisheries, but

that federal fisheries off Alaska do not target humpback whale primary prey species and

collisions with fishing vessels are rare. 2SUPP000124-00125. The SIR includes a similar

analysis for sperm, fin, and killer whales. 2SUPP00125-000127; 2SUPP00132-00135.


Fed. Defs.’ Opening Brief                                                                 19
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24    Page 30 of 54
The SIR also reviewed information and circumstances concerning ribbon, ringed,

bearded, and spotted seals (“ice seals”). 2SUPP00120- 2SUPP00123. For ESA-listed ice

seals, the 2024 SIR noted that groundfish fishing operations do not directly compete for

primary prey resources for bearded seals, nor do they have a nexus to the primary threats

affecting ringed seals, and the takes of listed seals incidental to fishing operations are

very low relative to the total population. 2SUPP00122.

       Ultimately, the SIRs used the most recent data available, including all components

of the SAFEs, to support the agency’s determination that supplementation of the Harvest

Specifications EIS was not required because (1) the 2023-2024 and 2024-2025 harvest

specifications, which were set according to the preferred harvest strategy, do not

constitute a substantial change in the action; (2) the information presented does not

indicate that there are significant new circumstances or information relevant to

environmental concerns and bearing on the proposed action or its impacts; and (3) the

2023-2024 and 2024-2025 harvest specifications will result in environmental, social, and

economic impacts within the scope of those already analyzed and disclosed in the

Harvest Specifications EIS. NMFS00635; NMFS01254; 2SUPP00143; 2SUPP00067.

                            III.   STANDARD OF REVIEW

       Judicial review of administrative actions is governed by the APA, 5 U.S.C. §

706(2). San Luis & Delta-Mendota Water Auth. v. Jewell, 747 F.3d 581, 601 (9th Cir.

2014). Under the APA, reviewing courts may set aside an agency’s action only if it is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”

Id. (citation omitted). This standard of review is narrow and “[t]he court is not


Fed. Defs.’ Opening Brief                                                                    20
      Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 31 of 54
empowered to substitute its judgment for that of the agency.” Citizens to Pres. Overton

Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), abrogated on other grounds by Califano v.

Sanders, 430 U.S. 99 (1977). Courts are at their most deferential “where, as here, the

challenged decision implicates substantial agency expertise.” Mt. Graham Red Squirrel

v. Espy, 986 F.2d 1568, 1571 (9th Cir. 1993). 7

                                   IV.     ARGUMENT

A.     Plaintiffs fail to satisfy the causation and redressability elements of standing.

       To establish standing, a plaintiff bears the burden of establishing three elements.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). First, plaintiffs must have

“suffered an ‘injury in fact’” which is “concrete and particularized” and “actual or

imminent, not ‘conjectural’ or ‘hypothetical[.]’” Id. at 560 (citations omitted). Next,

plaintiffs must show “a causal connection between the injury and the conduct complained

of” which is directly traceable “to the challenged action” and not the result of an

“independent action of [a] third party not before the court.” Id. (citation omitted). Finally,

plaintiffs must show that it is “‘likely,’ as opposed to merely ‘speculative,’ that the injury

will be ‘redressed by a favorable decision.’” Id. at 561 (citation omitted). “Once a

plaintiff has established an injury in fact under NEPA, the causation and redressability

requirements are relaxed.” Cantrell v. City of Long Beach, 241 F.3d 674, 682 (9th Cir.



7
 The Supreme Court’s recent decision in Loper Bright Enterprises v. Raimondo does not
affect this analysis. 144 S. Ct. 2244 (2024). There, the Court distinguished agency
policymaking and factfinding from legal questions and explicitly stated: “Section 706
does mandate that judicial review of agency policymaking and factfinding be
deferential.” Id. at 2261 (emphasis original).

Fed. Defs.’ Opening Brief                                                                  21
      Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24     Page 32 of 54
2001). However, “a claim of procedural injury does not relieve Plaintiffs of their

burden—even if relaxed—to demonstrate causation and redressability.” Whitewater

Draw Nat. Res. Conservation Dist. v. Mayorkas, 5 F.4th 997, 1015 (9th Cir.), cert.

denied, 142 S. Ct. 713 (2021).

       The injury of which Plaintiffs complain is a lack of marine resources. Simply put,

climate change, not the harvest specifications decision, is the driving force affecting the

availability of these marine resources in the BSAI ecosystem. Plaintiffs themselves

recognize this: “The changes in the ocean have negatively affected marine mammals,

seabirds, crabs, and other ocean resources on which citizens and members of AVCP’s

and TCC’s member tribes and communities depend.” Pls.’ Br. 14. NMFS agency

experts have also come to this conclusion, specifically regarding salmon: “Science

indicates climate change as the primary driver of poor salmon returns in western Alaska.”

NMFS00039; see also 2SUPP00048-00049. Climate change is, thus, an intervening

cause that has substantially contributed to Plaintiffs’ injury.

       In this case—where Plaintiffs primarily complain of a lack of marine resources

due to the BSAI groundfish fishery’s bycatch or attenuated effects on the ecosystem—the

causal chain between the harvest specifications decision and the lack of marine resources

available to Plaintiffs is too weak. When an independent third party is responsible for a

plaintiff’s injury, the causal chain may be so attenuated it cannot support standing. See

Wash. Env’t Council v. Bellon, 732 F.3d 1131, 1143–44 (9th Cir. 2013) (finding no

standing because “a multitude of independent third parties are responsible for the changes

contributing to Plaintiffs’ injuries”); Native Vill. of Kivalina v. ExxonMobil Corp., 696


Fed. Defs.’ Opening Brief                                                                   22
      Case 3:23-cv-00074-SLG         Document 68       Filed 07/19/24   Page 33 of 54
F.3d 849, 867 (9th Cir. 2012) (Pro, J., concurring) (same). Like in Bellon, “Plaintiffs

offer only vague, conclusory statements” that there is a link between changed ocean

conditions and the harvest specifications decision that in turn “result[s] in their purported

injuries.” 732 F.3d at 1142.

       Plaintiffs cite to a District of Columbia district court case to support standing, but

that case is distinguishable from the facts presented here. In Flaherty v. Bryson, the court

found standing because “[t]he harm caused by depletion of river herring by commercial

fishing is clearly traceable to Defendants’ decision not to restrict river herring catch” and

“there is no doubt that increased regulation of river herring catch would contribute to the

rebuilding of that stock.” 850 F. Supp. 2d 38, 50 (D.D.C. 2012). Neither is true here.

“While salmon bycatch in the pollock fishery may be a contributing factor in the decline

of salmon, NMFS expects the numbers of the ocean bycatch that would have returned to

western Alaska would be relatively small due to ocean mortality and the large number of

other river systems contributing to the total Chinook or chum salmon bycatch.”

NMFS00040; 2SUPP00048-00049. This applies with even more force to chum salmon

because “annual genetic data show the majority of chum bycatch is of Asian hatchery

origin, and thus does not affect returns to western Alaska rivers.” NMFS00039. Thus,

most of the salmon bycatch in the BSAI groundfish fishery would not have returned to

Alaska river systems where Plaintiffs reside. Unlike in Flaherty, the decline of salmon

and other marine resources experienced by Plaintiffs is not clearly traceable to the harvest

specifications decisions.

       Plaintiffs’ argument for redressability is even weaker. The “relatively small”


Fed. Defs.’ Opening Brief                                                                  23
      Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24     Page 34 of 54
number of salmon that would return to western Alaska if not caught as bycatch would not

remedy Plaintiffs’ injury. This number is too insignificant to make a meaningful impact

on the marine resources “on which citizens and members of AVCP’s and TCC’s tribes

and communities depend.” Pls.’ Br. 15. As such, “[r]educing the pollock TAC likely

would have an extremely small effect on salmon returns, and therefore on in-river harvest

opportunities, because of the low level of bycatch of salmon in the pollock fishery.”

NMFS00039.

       What’s more, “[w]hile it seems plausible that, for any given set of environmental

conditions, including salmon abundance, bycatch would decline if pollock TACs and

harvest were lower, it is not clear that they would decline proportionately.” NMFS00931.

In the last decade, “Chinook and chum bycatch has varied independently of stable

pollock TACs.” NMFS00040. Significantly, regulations set limits on how many Chinook

salmon can be caught in the pollock fishery, such that the pollock fleet is constrained by

the limit of Chinook salmon set in regulation, regardless of the size of the pollock TAC

and harvest. If NMFS decreased the TAC in any given year, the Bering Sea pollock fleet

could still catch salmon up to the bycatch limit set in regulation. 50 C.F.R. § 679.21(f).

This means that even if NMFS decreased the pollock TAC in any given year, the number

of salmon bycatch may not decrease because it could continue up to the limits prescribed

in regulation, which are outside of the scope of the annual harvest specification process.

50 C.F.R. § 679.21(f).

       Plaintiffs’ speculation that a change in the harvest specifications decision would

increase their access to marine resources “lengthens the causal chain beyond the reach of


Fed. Defs.’ Opening Brief                                                                    24
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 35 of 54
NEPA.” Metro. Edison Co. v. People Against Nuclear Energy, 460 U.S. 766, 775 (1983).

A reduction in the harvest specifications’ catch limit is unlikely to increase the number of

marine resources available to Plaintiffs. Even under this relaxed standard, Plaintiffs have

failed to carry their burden to show causation and redressability. 8

    B. Any argument relating to the lack of an EIS specific to the annual harvest
       specifications decision is waived.

       “Persons challenging an agency’s compliance with NEPA must ‘structure their

participation so an agency’s compliance with NEPA must ‘structure their participation so

that it . . . alerts the agency to the [persons’] position and contentions,’ in order to allow

the agency to give the issue meaningful consideration.” Dep’t of Transp. v. Pub. Citizen,

541 U.S. 752, 764–65 (2004) (omission in original) (quoting Vt. Yankee Nuclear Power

Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 553 (1978)) (holding that parties

forfeited the objection that an Environmental Assessment (EA) failed to consider

proposed alternatives by not identifying alternatives during EA’s public comment

period). Absent exceptional circumstances, plaintiffs have an obligation to present their



8
  This Court also lacks jurisdiction to hear Plaintiff-Intervenor’s claim under the MSA.
The MSA provides for judicial review in accordance with the APA of “actions that are
taken by the Secretary under regulations which implement a fishery management plan”
but only if “a petition for such review is filed within 30 days.” 16 U.S.C. § 1855(f). This
thirty-day time limit applies whenever a party challenges “[r]egulations promulgated by
the Secretary under the [MSA].” Turtle Island Restoration Network v. U.S. Dep't of
Com., 438 F.3d 937, 940 (9th Cir. 2006) (first alteration in original) (citation omitted).
The harvest specifications decision is action taken under regulations that implement the
FMP and was published on March 10, 2023. Plaintiff-Intervenor moved for intervention
on July 28, 2023, 140 days after the harvest specifications decision was published. Its
petition was thus not within 30 days as required by the MSA. Because its initial petition
is untimely, its Joinder to the Supplemental Complaint, ECF No. 54, is also untimely.

Fed. Defs.’ Opening Brief                                                                    25
      Case 3:23-cv-00074-SLG         Document 68       Filed 07/19/24     Page 36 of 54
criticisms of a proposed project to the agency whenever the agency affords the public the

opportunity to participate in the decision-making process. See Havasupai Tribe v.

Robertson, 943 F.2d 32, 34 (9th Cir. 1991); Johnson v. Dir., Off. of Workers' Comp.

Programs, 183 F.3d 1169, 1171 (9th Cir. 1999) (finding exceptional circumstances

warranted review when agency subsequently decided the same issue, so there was no risk

to usurping the agency’s authority).

       During the public comment period for the 2023-2024 harvest specifications,

NMFS received six comment letters, including from AVCP, raising seventeen distinct

comments and responded to each comment in the final harvest specifications posted in

the Federal Register. NMFS00018; NMFS00038-00045. While NMFS received and

responded to a comment that the harvest specifications “use an outdated EIS,” it did not

receive a comment that alleged that the harvest specifications required its own “project-

specific EIS.” NMFS00040-00042; Pls.’ Br. 17–18. 9

       Because Plaintiffs failed to raise the argument during the comment period that

NMFS must prepare an EIS for each annual harvest specifications, NMFS was deprived

of the opportunity to consider whether NEPA requires an entirely new process for each

harvest specifications decision. This objection to NMFS’s compliance with NEPA was



9
  For the 2024-2025 harvest specifications, NMFS received five comment letters, raising
seventeen distinct comments during the comment period and responded to each in the
final harvest specifications. 2SUPP00020; 2SUPP00043-00051. AVCP and TCC did not
submit a comment letter, but one comment did allege that the Harvest Specifications EIS
is outdated and NMFS must prepare a new or supplemental EIS. 2SUPP00045-00047.
No comments alleged that each annual harvest specifications decision requires its own
EIS.

Fed. Defs.’ Opening Brief                                                               26
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24    Page 37 of 54
not fairly included in the comments regarding an outdated EIS. Those comments assumed

that the harvest specification decision had an EIS. NMFS00040; 2SUPP00045. This new

argument that the harvest specifications decision entirely lacks any supporting NEPA

document was not considered by NMFS.

       Nor does this argument concern “a flaw so obvious that there was no need for

petitioners to point it out specifically in order to preserve their ability to challenge [it].”

Barnes v. U.S. Dep't of Transp., 655 F.3d 1124, 1134–35 (9th Cir. 2011) (internal

quotations omitted). The Ninth Circuit has interpreted the “so obvious” standard to

require that the agency had “independent knowledge of the issues that concern

petitioners.” Id. at 1132 (citing 'Ilio'ulaokalani Coal. v. Rumsfeld, 464 F.3d 1083, 1092

(9th Cir. 2006)). While NMFS was clearly aware of the concern that the Harvest

Specifications EIS was outdated, it was not on notice of the allegation that the annual

harvest specifications decisions had no EIS at all.

       Plaintiffs allege that the harvest specifications decisions require an entirely new

EIS “analyzing it in the current environmental context.” Pls.’ Br. 18. This argument is

novel. There is no specific requirement under NEPA that every major federal action be

continually analyzed “in the current environmental context.” As discussed infra ¶ C,

supplementation is only required when there are substantial changes in the proposed

action or relevant significant new circumstances or information. See N. Alaska Env't Ctr.

v. U.S. Dep't of the Interior, 983 F.3d 1077, 1090 (9th Cir. 2020); 40 C.F.R. §

1502.9(d)(1). No public comments suggested to NMFS that each harvest specifications

decision entirely lacked any supporting NEPA process, particularly when NMFS


Fed. Defs.’ Opening Brief                                                                     27
      Case 3:23-cv-00074-SLG          Document 68       Filed 07/19/24     Page 38 of 54
implements the annual harvest specifications decision in reliance on an EIS—the Harvest

Specifications EIS. NMFS00045; 2SUPP00051-00052.

        The Ninth Circuit has held that “a party’s failure to make an argument before the

administrative agency in comments on a proposed rule barred it from raising that

argument on judicial review.” Universal Health Servs., Inc. v. Thompson, 363 F.3d 1013,

1019–1020 (9th Cir. 2004). There are no exceptional circumstances warranting review of

this argument. Plaintiffs’ argument that the harvest specifications decisions lack an EIS

analyzing it in the current environmental context is therefore waived.

   C. NEPA does not require a new EIS each year for the annual harvest
      specifications decision.

        Even if this Court finds the issue has not been waived, Plaintiffs’ argument is

without merit because the annual harvest specifications decision is within the scope of a

completed NEPA analysis—the Harvest Specifications EIS. NEPA “does not . . . require

the agency to take a new look every time it takes a step that implements a previously-

studied action, so long as the impacts of that step were contemplated and analyzed by the

earlier analysis.” N. Alaska Env't Ctr., 983 F.3d at 1091 (omission in original) (quoting

Mayo v. Reynolds, 875 F.3d 11, 14–15 (D.C. Cir. 2017)). The appropriate inquiry is

“whether the initial EIS defined its scope as including the subsequent action.” Id. at

1086.

        The Harvest Specifications EIS was clearly intended to encompass future harvest

specifications decisions that used one of the five harvest strategies it analyzed. The

Harvest Specifications EIS analyzes the impacts of “a harvest strategy . . . for the



Fed. Defs.’ Opening Brief                                                                   28
        Case 3:23-cv-00074-SLG      Document 68       Filed 07/19/24     Page 39 of 54
management of the groundfish fisheries and the conservation of marine resources, as

required by the Magnuson-Stevens Act and as described in the management policy, goals,

and objectives in the FMPs.” NMFS000643. The 2023-2024 and 2024-2025 harvest

specifications decisions implement, and are consistent with, the preferred harvest strategy

in the Harvest Specifications EIS. NMFS00018-00019; NMFS00045; 2SUPP00021;

2SUPP00051-00052; 2SUPP00045-00047. Thus, the harvest specification decision is

explicitly contemplated in the defined scope of the Harvest Specifications EIS and the

agency’s record of decision. 10

       The 2023-2024 and 2024-2025 harvest specifications decisions are still within the

scope of the Harvest Specifications EIS, regardless of whether the “current environmental

context” has changed. Pls.’ Br. 18. What matters is whether the potential impact of the

harvest strategies has changed. Plaintiffs assume that if there have been changes to the

environment, the potential impacts of the harvest strategies must have also changed.

However, NMFS experts specifically considered that possibility in the SIRs and

concluded that these environmental changes are not significant in the context of the



10
   To the extent that Plaintiffs claim the Harvest Specifications EIS should have included
additional analysis of certain information or alternatives in order to cover future harvest
specifications decisions, or that NMFS erroneously concluded in that EIS that some
impacts were not significant, that is a challenge to the Harvest Specifications EIS itself,
which is time-barred. See 28 U.S.C. § 2401(a) (“[E]very civil action commenced against
the United States shall be barred unless the complaint is filed within six years after the
right of action first accrues.”); cf. N. Alaska Env’t Ctr., 983 F.3d at 1085, 1096
(concluding that where NEPA coverage for a lease sale came from an EIS covering
multiple sales, Plaintiffs could challenge whether supplementation was necessary, but not
the adequacy of the original EIS because it was outside the statute of limitations).


Fed. Defs.’ Opening Brief                                                                  29
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24    Page 40 of 54
potential impacts of the harvest specifications decision. NMFS00592; 2SUPP00081; see

40 C.F.R. § 1502.9(d)(1). But even if these environmental changes were significant new

information (they are not), “the appropriate rubric for considering these allegations—

given the existence of an initial EIS—is supplementation,” not an entirely new

environmental analysis. N. Alaska Env't Ctr., 983 F.3d at 1081.

       NEPA does not force federal agencies “to behave like Penelope, unravelling each

day’s work to start the web again the next day.” W. Coal Traffic League v. ICC, 735 F.2d

1408, 1411 (D.C. Cir. 1984). As the Supreme Court recognized, “[t]o require otherwise

would render agency decisionmaking intractable, always awaiting updated information

only to find the new information outdated by the time a decision is made.” Marsh v. Or.

Nat. Res. Council, 490 U.S. 360, 373 (1989) (in the context of supplementation to an

existing EIS). In short, the harvest specifications decisions do not require an annual EIS

because they are within the scope of the Harvest Specifications EIS and meet NEPA’s

procedural requirements.

D.     The Service reasonably determined that the harvest specifications decisions
       did not require supplemental NEPA analysis.

       1.     Legal Standard

       When a major Federal action remains to occur, NEPA requires agencies to

supplement an existing EIS when “(i) The agency makes substantial changes to the

proposed action that are relevant to environmental concerns; or (ii) There are substantial

new circumstances or information relevant to environmental concerns and bearing on the

proposed action or its impacts.” 40 C.F.R. § 1502.9(d)(1). A new or supplemental EIS is



Fed. Defs.’ Opening Brief                                                                30
     Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24    Page 41 of 54
not required unless “the new information is sufficient to show that the remaining action

will ‘affec[t] the quality of the human environment’ in a significant manner or to a

significant extent not already considered.” Marsh, 490 U.S. at 374 (cleaned up). Courts

have approved of using SIRs and other similar non-NEPA documents to consider whether

new information or changed circumstances require the preparation of a supplemental EIS.

See, e.g., Price Rd. Neighborhood Ass'n v. U.S. Dep't of Transp., 113 F.3d 1505, 1510

(9th Cir. 1997); Marsh, 490 U.S. at 383–85; Laguna Greenbelt, Inc. v. U.S. Dep't of

Transp., 42 F.3d 517, 529–30 (9th Cir. 1994).

       A court reviewing a determination that supplemental NEPA analysis is not

required applies the arbitrary and capricious standard. Marsh, 490 U.S. at 375–76. An

agency’s determination whether supplementation is required “implicates substantial

agency expertise” and courts defer to “the informed discretion of the responsible federal

agencies.” Id. at 376–77 (citation omitted). A court’s review of whether an agency

action is arbitrary and capricious should be “searching and careful,” but “narrow,” as a

court may not substitute its judgment for that of the administrative agency. Id. at 378

(citation omitted). Courts will generally “uphold agency decisions so long as the

agencies have ‘considered the relevant factors and articulated a rational connection

between the factors found and the choices made.’” See Protect Our Cmtys. Found. v.

LaCounte, 939 F.3d 1029, 1034 (9th Cir. 2019) (quoting City of Sausalito v. O'Neill, 386

F.3d 1186, 1206 (9th Cir. 2004)).




Fed. Defs.’ Opening Brief                                                                  31
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24    Page 42 of 54
   2. NMFS appropriately used the SIRs to consider whether new information is
      significant and would require a supplemental EIS.

       NMFS thoroughly and thoughtfully considered whether a supplement to the

Harvest Specifications EIS was needed due to ecosystem changes. In the annual SIRs for

the harvest specifications, the Service considered the most recent SAFEs, which

“summarize the best available scientific information concerning the past, present, and

possible future condition of the stocks, marine ecosystems, and fisheries” in addition to

documenting “significant trends or changes in the resource, marine ecosystems, and the

fisheries over time.” NMFS00591; 2SUPP00078. Based on this review, the Service

reasonably concluded there is no significant, new information concerning ecosystem

conditions that was not already considered in the scope of the original EIS. NMFS00592;

2SUPP00081. NEPA does not require more.

       Plaintiffs allege the 2023 SIR is insufficient because it “did not actually consider

any new information about the status of the ecosystem and explain its significance, or

lack thereof . . . as NEPA requires.” Pls.’ Br. 26 (referencing Warm Springs Dam Task

Force v. Gribble, 621 F.2d 1017, 1024 (9th Cir. 1980)). This is inaccurate. The SIRs

did, in fact, evaluate new information about the status of the BSAI ecosystems and

concluded this information was not “of such significance as to require implementation of

formal NEPA filing procedures.” Warm Springs Dam, 621 F.2d at 1024; see

NMFS00635; 2SUPP00143. The Warm Springs Dam case, cited by Plaintiffs, is

distinguishable from this case. See Pls.’ Br. 26, 29. There, the relevant agency had not



Fed. Defs.’ Opening Brief                                                                  32
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 43 of 54
prepared a SIR or other document to consider whether new information regarding the

location of a fault line near the proposed dam was significant enough to warrant

supplemental NEPA analysis. Warm Springs Dam, 621 F.2d at 1025. Here, NMFS did

complete a SIR for each annual harvest specifications decision where it evaluated the

contemporary changes in the BSAI ecosystems and concluded supplementation was not

required.

       Plaintiffs also challenge the SIR, alleging NMFS used it as “an evaluation outside

the NEPA process to consider significant new information.” Pls.’ Br. 26. However,

Plaintiffs put the cart before the horse—NMFS did not conclude information was

significant. Plaintiffs cite to Idaho Sporting Congress, Inc. v. Alexander for the

requirement that “once an agency determines that new information is significant, it must

prepare a supplemental EA or EIS; SIRs cannot serve as a substitute.” 222 F.3d 562, 566

(9th Cir. 2000); Pls.’ Br. 26. The Service does not disagree. However, Plaintiffs are

missing the requisite first step. In this case, NMFS did not use the SIR as a substitute for

an EIS. Rather, it used the SIR to determine whether new information presented each

year, including the information in the 2022 and 2023 SAFEs, was significant. Having

determined it was not significant, no further NEPA documentation or process was

required. 11


11
  Idaho Sporting Congress and Friends of the Clearwater v. Dombeck, 222 F.3d 552
(9th. Cir. 2000), also cited by Plaintiffs, are further distinguishable from this case because
the agencies waited until litigation had commenced—years after the new information
came to light—to evaluate the need for supplemental NEPA. Warm Springs Dam, 621
F.2d at 1025; Friends of the Clearwater, 222 F.3d at 558 (finding the Forest Service had
violated NEPA, “which demands timely and reasoned agency action”). Here, NMFS

Fed. Defs.’ Opening Brief                                                                  33
      Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24     Page 44 of 54
   3. NMFS did not use the harvest specification process as a substitute for
      analyzing whether significant information required supplemental NEPA
      analysis.

       In a similar vein, Plaintiffs’ assertion that NMFS concluded “that it did not need to

consider new information because it was considered through the harvest specifications

process,” Pls.’ Br. 34, is also without merit. The SIRs considered the data used to

implement the harvest specifications—i.e., the SAFEs and its components—to analyze

whether there is significant new information that requires supplementation to the EIS.

The SIR concluded that the data used to implement the harvest specifications was not

significant new information because it is within the scope of the potential environmental

impacts considered by the Harvest Specifications EIS.

       The preferred harvest strategy in the EIS “anticipated that information on changes

in species abundance would be used each year in setting the annual harvest

specifications.” NMFS00592. The harvest specifications process’s flexibility was

“designed to adjust to new information” and dually ensures compliance with both the

MSA and NEPA. 2SUPP00079; NMFS00592. The flexibility of the process serves

NMFS’s obligation under the MSA to “use the best scientific information available” for

each annual harvest specifications decision. 2SUPP00079; NMFS00592; 16 U.S.C. §

1851(a)(2). The harvest specifications process implements the most up-to-date

information on the relevant ecosystem factors analyzed in the Harvest Specifications EIS.

Consequently, the changed ecosystem factors referenced in Plaintiffs’ briefs have been


annually considered the significance of new information, before publication of the annual
harvest specifications decision, and before the commencement of litigation.

Fed. Defs.’ Opening Brief                                                                34
     Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24    Page 45 of 54
thoroughly and thoughtfully integrated into the harvest specifications process. 12 The

integration of new information on changed ecosystem factors is consistent with the

Harvest Specifications EIS, which expressly contemplates that such factors would inform

the specification of OFL, and that ABC could be reduced “to take account of special

circumstances, including ecosystem considerations.” NMFS00884; see also

2SUPP00096-00098. Thus, because this new data is within the scope of information the

EIS contemplated would be used to inform the harvest specifications decision, it “does

not represent a significant change relative to the environmental impacts of the harvest

strategy analyzed in the Harvest Specifications EIS.” NMFS00592; 2SUPP00081.

       To assess significance, NMFS specifically focused on the new information

presented each year to support the harvest specifications decision and found that “the new

information available is not of a scale and scope that require an SEIS.” NMFS00592; see

also 2SUPP00077-2SUPP00081. NMFS recognizes that, in any given year, there could

be significant new information that falls outside the scope of the Harvest Specifications

EIS which would require a supplement. Ultimately, NMFS evaluated the significance of

the updated data gathered in the harvest specifications process and concluded that this

information “does not present a seriously different picture of the likely environmental

harms of the remaining action to occur—the implementation of the [ ] groundfish harvest


12
  See, e.g., 2SUPP05840-05846 and 2SUPP05970-05975 (2023 EBS pollock);
NMFS02524-02531 (2022 EBS pollock); NMFS02408-02409 and NMFS02412-02415
(2022 AI pollock); 2SUPP05699-06701 and 2SUPP00490-00515 (2023 EBS Pacific
cod); NMFS02118-02120 and NMFS02235-02260 (2022 EBS Pacific cod),
2SUPP06067-06068 (2023 BSAI yellow fin sole); NMFS03067-03068 (2022 BSAI
yellowfin sole).

Fed. Defs.’ Opening Brief                                                                 35
     Case 3:23-cv-00074-SLG        Document 68      Filed 07/19/24     Page 46 of 54
specifications—beyond what was considered in the Harvest Specifications EIS.”

2SUPP00081.

4.     NMFS’s conclusion that changes in the BSAI ecosystems do not present
       significant new circumstances or information is reasonable and well-
       supported.

       Plaintiffs assert that the Harvest Specifications EIS does not analyze the effects of

the “harvest specifications in the context of today’s environment.” Pls.’ Br. 17.

However, this is not the standard under NEPA. Supplementation of an EIS is required

only if “[t]here are substantial new circumstances or information relevant about the

significance of adverse effects that bear on the analysis.” 40 C.F.R. § 1502.9(d)(1). To

determine the significance of new information, the appropriate test is whether the new

information presents a “seriously different picture of the likely environmental harms.”

Tri-Valley CAREs v. U.S. Dep't of Energy, 671 F.3d 1113, 1130 (9th Cir. 2012) (citing

Wisconsin v. Weinberger, 745 F.2d 412, 416–417 (7th Cir. 1984)). In determining that

ocean conditions and other indicia of climate change did not warrant supplemental NEPA

analysis, NMFS thoroughly reviewed up-to-date data on species abundance and

condition, environmental and ecosystem factors, and socio-economic conditions and

rationally concluded it did “not represent a significant change relative to the

environmental impacts of the harvest strategy analyzed in the Harvest Specifications

EIS.” NMFS00592; 2SUPP00081; 2SUPP00098.

       Climate change was a reality in 2007 and was considered in the Harvest

Specifications EIS. The EIS recognized that ocean conditions change and the action area

for the harvest strategy “is subject to periodic climatic and ecological ‘regime shifts’”


Fed. Defs.’ Opening Brief                                                                   36
      Case 3:23-cv-00074-SLG        Document 68       Filed 07/19/24    Page 47 of 54
that can lead to changes in ecosystem relationships and the relative success of different

species. NMFS00737. The EIS further specifically considered the impacts of the

alternative harvest strategies on salmon, crab, marine mammals, and seabirds. See

NMFS00815-NMFS00821; NMFS00828-NMFS00849; NMFS00857-NMFS00867.

       As the effect of climate change and the impact of different strategies on other

marine animals were considered in the Harvest Specifications EIS, the authority Plaintiffs

rely upon is inapposite. In Blue Mountains Biodiversity Project v. Blackwood, “the

largest fire in the history of [the region] dramatically altered the forest ecosystem . . .

several years after the EIS for the Forest Plan was prepared.” 161 F.3d 1208, 1214 (9th

Cir. 1998) (cited by Pls.’ Br. 27). Unlike the fire in Blue Mountains Biodiversity Project,

climate change is not a singular, catastrophic event that occurred after the EIS and

therefore could not have been considered by it. 13 The Harvest Specifications EIS did, in

fact, consider possible ecosystem changes in the context of the impact of the harvest

specifications decision on the environment.



13
  Plaintiffs reference interactions between fishing vessels and spectacled eiders as
contradicting NMFS’s analysis in the Harvest Specifications EIS. Pls.’ Br. 30. However,
in that EIS, NMFS recognized that eiders existed in the action area, though the overlap
between their foraging areas and groundfish fisheries was slight. NMFS00864.
Documented interactions between spectacled eiders and their habitat and fishing vessels
does not contradict this analysis. Additionally, the authority that Plaintiffs cite to support
that this information necessitates a new EIS concerned using a “proxy-on-proxy”
approach when the species—the sage grouse, in that case—was not in the action area.
Native Ecosystems Council v. Tidwell, 599 F.3d 926, 935 (9th Cir. 2010). The court
found this approach to be unreliable when the sage grouse did not exist in the area at the
time it was used. Id. at 935–36. As there is no flawed “proxy-on-proxy” approach in the
instant case, this authority is inapposite.


Fed. Defs.’ Opening Brief                                                                     37
      Case 3:23-cv-00074-SLG         Document 68       Filed 07/19/24     Page 48 of 54
       Furthermore, NMFS used the SIR to consider whether to supplement the Harvest

Specifications EIS based on the current ecosystem by reviewing up-to-date data on

species abundance and condition, environmental and ecosystem factors, and socio-

economic conditions. 14 The SIR analyzed a wealth of data and information on ocean

conditions, climate change, the status of marine resources, and impacts on marine

resources like target species, bycatch species, marine mammals, and seabirds—i.e., the

ecosystem data Plaintiffs present. See, e.g., Pls.’ Suppl. Br. (Am.) 3–5, ECF No. 66;

2SUPP06598-06615; 2SUPP06354-06368; 2SUPP06474-06489. NMFS rationally

concluded this information did “not represent a significant change relative to the

environmental impacts of the harvest strategy analyzed in the Harvest Specifications

EIS.” NMFS00592; 2SUPP00081; 2SUPP00098. Like in Marsh, NMFS “carefully

scrutinized the proffered information” and reasonably concluded it “did not present

significant new information requiring supplementation” of the EIS. Marsh, 490 U.S. at

383.

       Plaintiffs’ argument assumes that “changed ocean conditions,” “seabird and

marine mammal mortality events,” and “multi-species salmon collapse,” is new

information “sufficient to show that the [harvest specifications decision] will ‘affec[t] the

quality of the human environment’ in a significant manner or to a significant extent not

already considered[.]” Marsh, 490 U.S. at 374 (second alteration in original and citation


14
  See, e.g., NMFS05430-05656 (2022 EBS ESR); NMFS05661-05799 (2022 AI ESR);
NMFS01264-03163 (2022 stock assessments); NMFS05803-06089 (Economic SAFE);
2SUPP06354-06594 (2023 EBS ESR); 2SUPP06598-06690 (2023 AI ESR);
2SUPP5276-6149 (2023 stock assessments); 2SUPP06150-06353 (Economic SAFE).

Fed. Defs.’ Opening Brief                                                                  38
       Case 3:23-cv-00074-SLG       Document 68       Filed 07/19/24    Page 49 of 54
omitted). Plaintiffs provide a laundry list of changes in the BSAI ecosystems and

speculate that these changes must affect the harvest specifications decisions’ impact on

the environment beyond what the Harvest Specifications EIS considered. However,

through the SIRs, NMFS reviewed up-to-date data on species abundance and condition,

environmental and ecosystem factors, and socio-economic conditions and concluded they

were not significant changes that would require a new EIS.

       At best, Plaintiffs present the conflicting views of specialists. When there are such

conflicting views, “an agency must have discretion to rely on the reasonable opinions of

its own qualified experts even if, as an original matter, a court might find contrary views

more persuasive.” Marsh, 490 U.S. at 378. As the Ninth Circuit recognized in

Greenpeace Action v. Franklin, a case similarly involving a challenge to NMFS’s harvest

specifications, “[t]o set aside the Service’s determination in this case would require us to

decide that the views of [Plaintiffs’] experts have more merit than those of the Service’s

experts, a position we are unqualified to take.” 14 F.3d 1324, 1333 (9th Cir. 1992); see

also N. C. Fisheries Ass'n v. Gutierrez, 518 F. Supp. 2d 62, 80 (D.D.C. 2007) (“Fisheries

regulation requires highly technical and scientific determinations that are within the

agency's expertise, but are beyond the ken of most judges.”). The Greenpeace Action

court additionally concluded that an EIS is not required “whenever qualified experts

disagree[.]” Greenpeace Action, 14 F.3d at 1335; see also Friends of Endangered

Species, Inc. v. Jantzen, 760 F.2d 976, 986 (9th Cir. 1985) (“NEPA does not require that

we decide whether an [EIS] is based on the best scientific methodology available, nor

does NEPA require us to resolve disagreements among various scientists as to


Fed. Defs.’ Opening Brief                                                                  39
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 50 of 54
methodology.”); Klamath-Siskiyou Wildlands Ctr. v. Bureau of Land Mgmt., 387 F.3d

989, 993 (9th Cir. 2004) (“[C]ourts must also be mindful to defer to agency expertise,

particularly with respect to scientific matters within the purview of the agency.”);

Anderson v. Evans, 371 F.3d 475, 489 (9th Cir. 2004) (same); Nw. Env't Advocs. v. Nat'l

Marine Fisheries Serv., 460 F.3d 1125, 1133 (9th Cir. 2006) (same).

       Plaintiffs assume that the passage of time proves that environmental conditions

have changed significantly enough to require further NEPA process. However, the

passage of time alone is not enough to require supplementation to an EIS. See Ass’n of

Pub. Agency Customers, Inc. v. Bonneville Power Admin., 126 F.3d 1158, 1184 (9th Cir.

1997) (“We note that significant circumstantial change is the triggering factor requiring a

new or supplemental EIS, not the passage of time alone[.]”); Sierra Club v. U.S. Army

Corps of Eng’rs, 701 F.2d 1011, 1036 (2d Cir. 1983) (“[T]he mere passage of time rarely

warrants an order to update the information to be considered by an agency.”). While it is

true that agency guidance recommends that an EIS more than 5 years old should be

carefully reexamined, Pls.’ Br. 37 (citing Forty Most Asked Questions Concerning CEQ's

NEPA Regulations, 46 Fed. Reg. 18,026, 18,036 (Mar. 23, 1981) (codified at 40 C.F.R.

pts. 1500–08)), NMFS has done just that through its annual SIRs. NMFS has concluded,

based on voluminous data informed by the most up-to-date science, that the new

circumstances described by Plaintiffs are not significant in the context of the impact of

the harvest specifications decisions on the environment. 15


15
   For this reason, Plaintiffs’ attack on the 2004 Programmatic Supplemental EIS (PSEIS)
is also unwarranted. See Pls.’ Br. 27, n.7. The age of the EIS is inapposite; what matters

Fed. Defs.’ Opening Brief                                                                   40
     Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 51 of 54
        In the end, Plaintiffs’ dispute “involves primarily issues of fact” which require “a

high level of technical expertise[.]” Marsh, 490 U.S. at 376–77 (citation omitted). As the

Supreme Court has cautioned, in these situations, courts must defer to “the informed

discretion of the responsible federal agencies.” Id. (quoting Kleppe v. Sierra Club, 427

U.S. 390, 412 (1976)). NMFS has thoroughly considered the most current data using the

best fishery science and has concluded changes in the BSAI ecosystems does not present

significant new information or circumstances in the context of the 2023-2024 and 2024-

2025 harvest specifications decisions. NEPA does not require more.

                                   V.     CONCLUSION

        For the foregoing reasons, the Court should grant summary judgment in favor of

Federal Defendants on all claims and deny Plaintiffs’ motion for summary judgment in

its entirety.




is whether new information affects the potential environmental impacts on the action.
Furthermore, this EIS is outside of the scope of Plaintiff’s challenge. When determining
what action an EIS supports, the relevant question is what the NEPA document states. N.
Alaska Env't Ctr, 983 F.3d at 1093–1094. The stated action that the Harvest
Specifications EIS analyzes is the “choice of a harvest strategy for the federally managed
groundfish fisheries in the Gulf of Alaska (GOA) and the Bering Sea and Aleutian
Islands (BSAI) management areas.” NMFS00661. Therefore, the Harvest Specifications
EIS is the correct NEPA document to evaluate in this case challenging the
implementation of that harvest strategy in the 2023-2024 and 2024-2025 BSAI
groundfish harvest specifications.

Fed. Defs.’ Opening Brief                                                                  41
      Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 52 of 54
      Respectfully submitted on this 19th day of July, 2024.


                                 TODD KIM
                                 Assistant Attorney General
                                 Environment and Natural Resources Division
                                 United States Department of Justice

                                 JENNIFER A. SUNDOOK
                                 Trial Attorney
                                 Natural Resources Section
                                 Ben Franklin Station, P.O. Box 7611
                                 Washington, D.C. 20044-7611
                                 Phone: (202) 341-2791
                                 Fax: (202) 305-0506
                                 Jennifer.Sundook@usdoj.gov

                                 Attorneys for Federal Defendants




Fed. Defs.’ Opening Brief                                                           42
     Case 3:23-cv-00074-SLG       Document 68      Filed 07/19/24   Page 53 of 54
                          CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing brief is 11,400 words as counted using the word

count feature of Microsoft Word, excluding the caption, table of contents, table of

authorities, signature blocks, certificate of compliance, and certificate of service.


                                                   /s/ Jennifer A. Sundook
                                                   JENNIFER A. SUNDOOK
                                                   Attorney for Federal Defendants




Fed. Defs.’ Opening Brief                                                                43
      Case 3:23-cv-00074-SLG         Document 68      Filed 07/19/24     Page 54 of 54
